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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC          §
                                    §
      Plaintiff,                    §              Case No: 2:15-cv-01169-RWS-RSP
                                    §
vs.                                 §              LEAD CASE
                                    §
ADAMS EXTRACT                       §
                                    §
      Defendant.                    §
___________________________________ §
SYMBOLOGY INNOVATIONS, LLC          §
                                    §
.     Plaintiff,                    §              Case No: 2:15-cv-01175-JRG-RSP
                                    §
vs.                                 §              CONSOLIDATED CASE
                                    §
PINNACLE FOODS INC.                 §
                                    §
      Defendant.                    §
___________________________________ §

                                           ORDER

       On this day the Court considered the Unopposed Motion to Dismiss Pinnacle Foods Inc.
It is therefore ORDERED that all claims by Plaintiff Symbology Innovations, LLC are hereby
DISMISSED WITH PREJUDICE, and all claims by Defendant are hereby DISMISSED AS
MOOT, SIGNED
      with each this
                party3rd day of
                      to bear its January,
                                  own costs,2012.
                                             expenses and attorneys’ fees.
       SIGNED this 12th day of July, 2016.




                                                   ____________________________________
                                                   ROY S. PAYNE
                                                   UNITED STATES MAGISTRATE JUDGE
